Case 1:21-cv-00601-SCJ-JKL

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

Document 1 Filed 02/10/21 Page 1 of 7

LERK’S OFFICE

FILED INE Cc. - Atlanta
UNITED STATES DISTRICT COURT U.S.D.C. - Ata
for the 2 FEB 40 2021
NORTHERN DISTRICT OF GEORGIA - ae ounces. ci on

MALIK ASANTE

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-V-

DELTA DENTAL OF CALIFORNIA, TYSHA
CRAWFORD, JENNIFER SOUDERS

Defendants)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

BY

cuenof 321 -CV-0601

(to be filled in by the Clerk’s Office)

Jury Trial: (check one) Aves [G]No

Nee Oe eee eee eae ee

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

MALIK ASANTE

13008 LAKE UNION HILL WAY
ALPHARETTA, FULTON

GA 30004

404 528 7921

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known). Attach additional pages if needed.

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Defendant No. 1

Name DELTA DENTAL OF CALIFORNIA
Job or Title (if known)

Street Address 560 Mission St. Ste 1300

City and County San Francisco, San Francisco
State and Zip Code CALIFORNIA 94105-0938

Telephone Number
E-mail Address (if known)

Defendant No. 2

Name TYSHA CRAWFORD

Job or Title (if known) SUPERVISOR

Street Address 1120 SANCTUARY PARKWAY
City and County ALPHARETTA, FULTON

State and Zip Code GA, 30005

Telephone Number

E-mail Address (if known)

Defendant No. 3

Name JENNIFER SOUDERS

Job or Title (if known) HR MANAGER

Street Address 11155 INTERNATIONAL DRIVE BLD. B
City and County RANCHO CORDOVA, SACRAMENTO
State and Zip Code CA 95670

Telephone Number 1-209-495-2641

E-mail Address (if known) JSOUDERS @DELTA.ORG

Defendant No. 4

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

 

 

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C. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

Name DELTA DENTAL OF CALIFORNIA
Street Address 1120 SANCTUARY PARKWAY
City and County ALPHARETTA, FULTON
State and Zip Code GA, 30005
Telephone Number

I. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply}:

iw

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

Other federal law (specify the federal law).
Relevant state law (specify, if known):

HARASSMENT - EMOTIONAL DISTRESS - INTERFERENCE WITH EMPLOYMENT - ETC.

Relevant city or county law (specify, if known):

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UI.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that apply):

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.

Retaliation.

gaa

Other acts (specify):

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)
MARCH 2020
Cc. I believe that defendant(s) (check one):
A is/are still committing these acts against me.
[a] is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check all that apply and explain):
[] race
[a] color
ho” gender/sex MALE
[a] religion
fal national origin
[a] age (year of birth) (only when asserting a claim of age discrimination.)
[a] disability or perceived disability (specify disability)
E. The facts of my case are as follows. Attach additional pages if needed.

Pace 4 of 6

 

 
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IV.

DEFENDANT TYSHA DISCRIMINATED AGAINST THE PLAINTIFF BY PROVIDING UNEQUAL
TERMS AND CONDITIONS OF EMPLOYMENTS AS FOLLWS: UNEQUAL PAYMENT IN TERMS OF
BONUSES ($2,000 VERSUS HIGHER AMOUNT TO OTHERS FEMALE EMPLOYEES) AND UNEQUAL
TREATMENT IN TERMS OF TRAINING (NO TRAINING VS. TRAINING) - DEFENDANT ACCUSED
PLAINTIFF OF NOT DOING WORK IN ZOOM MEETING DESPITE MEETING METRICS - PLAINTIFF
COMPLAINED TO HR SOUDER - FINDINGS 'INCONCLUSIVE' - REFUSED RELOCATION -
DEFENDANT RETALIATED WITH A TARGETED PETTY WRITE UPS IN SEPTEMBER 2020 - -
ACCUSED PLAINTIFF OF NOT DOING JOB EVEN THOUGH PLAINTIFF PERFORMED SPECIFIC

DUTIES OF EMPLOYMENT - PLAINTIFF OFFERED $15,000 SEVERANCE PACKAGE FROM ROGER
WALK BY SOUDER -

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

Exhaustion of Federal Administrative Remedies

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
On (date)

FILED ON OR ABOUT AUGUST 2020

B. The Equal Employment Opportunity Commission (check one}:
[a] has not issued a Notice of Right to Sue letter.
rf issued a Notice of Right to Sue letter, which I received on (date) 12/23/2020

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

[a] 60 days or more have elapsed.
rr less than 60 days have elapsed.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive

or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

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(1) SEEKING RELIEF IN EQUITY / THROUGH INJUNCTION TO MOVE THE PLAINTIFF TO A NEW GROUP
OR DEPARTMENT AND NOT HAVE TO REPORT TO DEFENDANT TYSHA (2) MONETARY DAMAGES FOR
THE UNEQUAL TREATMENT AND HARASSMENT AND CONDUCT COMPLAINED OF HEREIN
(DECLARATORY / COMPENSATORY / PUNITIVE DAMAGES) IN AN AMOUNT TO BE DETERMINED INA
TRIAL BY JURY (3) INJUNCTIVE RELIEF ORDERING DEFENDANTS TO DESIST UNEQUAL TREATMENT (4)
ANY AND ALL OTHER RELIEF DEEMED NECESSARY BY THIS COURT.

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule I1.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

 

Date of signing:

Signature of Plaintiff a= f-— ,

Printed Name of Plaintiff MALIK ASANTE
B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

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EEOC Form 161 (11/2020) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Malik Asante From: Atlanta District Office
13008 Lake Union Hill Way 100 Alabama Street, S.W.
Alpharetta, GA 30004 Suite 4R30

Atlanta, GA 30303

 

 

[ ] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC ChargeNo. EEOC Representative TelephoneNo.
Triet Bui,
410-2020-08304 Investigator (404) 562-6948

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

UO A OUOUUU

The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did notinvolve a disability as defined by the Americans With Disabilities Act.

The Respondent employs less than the required number of employees oris not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
determination about whether further investigation would establish violations of the statute. This does not mean the claims
have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
makes no finding as to the merits of any other issues that mightbe construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fairemployment practices agency that investigated this charge.

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title VIi, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On beh mmission
ee For 12/22/2020

Enclosures(s) Darrell E. Graham, (Date Issued)

cc:

istrict Director

Jennifer Souders

Employee Relations Manager
1120 Sanctuary Pkwy
Alpharetta, GA 30005

 

 
